             Case 2:20-cv-00302-SCJ Document 156-44 Filed 05/16/22 Page 1 of 4



Climo, Christopher J.

From:                              Fred Eshelman <fred@eshelmanventures.com>
Sent:                              Monday, November 23, 2020 9:07 PM
To:                                Jacobs, Ronald M.
Subject:                           FW: Invoice 1 1 032020-98753 from Old Town Digital Agency LLC




From: Fred Eshelman
Sent: Sunday, November 15, 2020 1:58 PM
To: Catherine Engelbrecht <catherine@truethevote.org>
Subject: RE: Invoice 11032020-98753 from Old Town Digital Agency LLC

The Old Town Invoice is fine to pay. I got color on it from Tom.
Thanks.


From: Catherine Engelbrecht <catherine@truethevote.org>
Sent: Saturday, November 14, 2020 10:45 P M
To: Fred Eshelman <fred@eshelmanventures.com>
Subject: Fwd: Invoice 11032020-98753 from Old Town Digital Agency LLC

Fred -


Thanks for taking time to visit with Jim and I earlier today. I'll let you,Tom, and Dikran know what comes from our next
conversations with the Trump Team. We spent the balance of the day reviewing data assets that might be helpful to
us. This new alignment brings with it significant changes to the cash flow, which can now be easily summarized:


Cash
Donation                           $2,500,000
Bopp Law Firm Advance                $500,000
Old Town Digital Agency             $1,000,000**

** Upon your approval, we can wire funds to Old Town Digital. Their invoice is included at the bottom of this email. We
have not yet received any work product or plan. I know they have a lot of great ideas, and would be glad to consider
anything they bring to us. We have also scaled our comms team substantially over the last two weeks to cover pr and
bookings.


At present it is our understanding that we will incur no further legal bills. We will have to continue to fund our research
effort separate from the Trump team, but our expenses should be manageable within currently available funds. One
exception would be if it's determined that individual voter confirmations are necessary, but we won't know that for
about a week and the cost would be entirely determined by scale, which is also unknown.


The whistleblower effort was a huge success. Four whistleblowers: in Nevada, in Arizona, in Georgia, and in the OOJ
(which we've discussed). We've secured legal representation for the group in Arizona; Georgia is still coming
together. The Nevada case is interesting in that it has roots in Nevada, but it multi-state. We are writing up the briefs
on these individuals now to give to Senator Graham and Cruz. At present our expenses are around $100,000 for the




                                                            724                                Eshelman 00167
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program, including the live call center. Only one of the whistleblowers (the Georgia whistleblower) is interested in a
bounty. We have offered $50,000 if his evidence leads to prosecution. We will need to obtain counsel for him, as
well. When I send the investigation briefs, I'll include a more thorough statement of expenses.

Jim was on a call this evening with Jay Sekulow, Lindsey Graham, Sean Hannity, and Larry Ellison. He explained the work
we were doing and they asked for a preliminary report asap, to be used to rally their troops internally, so that's what I'm
working on now. Will copy you once it's done.


This is the most important work we've ever done. Thank you so much for your continued support.


All the best­
Catherine




---------- Forwarded message ---------
From: Old Town Digital Agency LLC <quickbooks@notification.intuit.com>
Date: Fri, Nov 13, 2020 at 9:42 AM
Subject: Invoice 11032020-98753 from Old Town Digital Agency LLC
To: <catherine@truethevote.org>



                                           INVOICE 1 1 032020-98753 DETAILS




                                         Old Town Digital Agency LLC




                                                   DUE 1 1/1 3/2020


                                     $ 1 , 000 , 000.00
                                                     Print or save

                                              Powered by QuickBooks




   Dear Catherine Engelbrecht,


   Here's your invoice! We appreciate your prompt payment.



                                                            2




                                                           725                               Eshelman 00168
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Have a great day,
Old Town Digital Agency LLC




   Bill to              True The Vote
                        ATTN:Catherine Engelbrecht




   Terms                           Due on receipt




  Services                                                                  $1 ,000,000.00
  Digital Media Creation and Distribution
  Communication Team and Support Staff
  Strategic Consulting Partners



   1 X $1 ,000,000.00




                                                         Balance due         $1 ,000,000.00




                                         Print or save




                                  Old Town Digital Agency LLC

                201 North Union St. Suite 1 1 0 #1 1 181 Alexandria, VA 22314 US

                               cindy@oldtowndigitalagency.com




                                               3




                                              726                          Eshelman 00169
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 If you receive an email that seems fraudulent, please check with the business owner before paying.




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�.-..
   ____       ....�.catherine Engelbrecht
Founder, True the Vote




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